           Case 2:23-cv-02358-SHL-cgc Document 31 Filed 07/13/23 Page 1 of 1                                                                          PageID 179
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                  DISTRICT OF                                       TENNESSEE



                         Tikeila Rucker, et al
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
           Shelby County Board of Education, et al                                                                     Case Number: 23-cv-2358

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY 6 DEFENDANT’S ATTORNEY 6
 SHERYL H. LIPMAN                                                   Alyson Beridon, Benjamin Gastel, Scott Kramer             Robert Spence, Jr., Andrew Horvath, Jarrett Spence
352&((',1*'$7(                                                 COURT REPORTERCOURTROOM DEPUTY
 7/13/2023-Preliminary Injunction Hearing                           C. Covey                                                  M. Mullen
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   X                  7/13/2023                                     Tikeila Rucker - Political Organizing Director

   1                  7/13/2023             ƃ             ƃ         Video on thumb drive

             2        7/13/2023             ƃ             ƃ         Letter dated 5/30/2023 from Memphis-Shelby County Schools to Tikeila Rucker

             3        7/13/2023             ƃ             ƃ         Letter dated 5/31/2023 from Memphis-Shelby County Schools to Tikeila Rucker

   X                  7/13/2023                                     Damon Curry-Morris

             4        7/13/2023             ƃ             ƃ         Letter dated 5/30/2023 from Memphis-Shelby County Schools to Damon Curry-Morris

             5        7/13/2023             ƃ             ƃ         Letter dated 5/31/2023 from Memphis-Shelby County Schools to Damon Curry-Morris

   X                  7/13/2023                                     Carolyn Jackson - Chief of Safety and Security for Memphis-Shelby County Schools

             6        7/13/2023             ƃ             ƃ         Video on thumb drive

             7        7/13/2023             ƃ             ƃ         Letter dated 5/30/2023 from Memphis-Shelby County Schools to Rachel Spriggs

             8        7/13/2023             ƃ             ƃ         Letter dated 5/31/2023 from Memphis-Shelby County Schools to Rachel Spriggs

             9        7/13/2023             ƃ             ƃ         Letter dated 5/30/2023 from Memphis-Shelby County Schools to Amber Sherman

            10        7/13/2023             ƃ             ƃ         Letter dated 5/31/2023 from Memphis-Shelby County Schools to Amber Sherman

            11        7/13/2023             ƃ             ƃ         Letter dated 5/30/2023 from Memphis-Shelby County Schools to Lajuana Abraham

            12        7/13/2023             ƃ             ƃ         Letter dated 5/31/2023 from Memphis-Shelby County Schools to Lajuana Abraham

                                                                    -----Plaintiff and Defense Rest-----




                                                                    s/M. Mullen, Case Manager




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                        Page 1 of          1   Pages
